      Case 4:06-cr-00052 Document 839 Filed on 09/17/09 in TXSD Page 1 of 1




                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

UNITED STATES OF AMERICA                    §
                                            §
                                            §
VS.                                         §    CRIMINAL NO. H-06-52-3
                                            §
                                            §
LUIS LEAL                                   §

                                       ORDER

        Defendant Leal filed an unopposed motion to continue the sentencing hearing

(Docket Entry No. 837). The motion for continuance is GRANTED. The sentencing hearing

is reset to January 20, 2010, at 9:00 a.m. Objections to the presentence report will be due

by December 11, 2009.


             SIGNED on September 17, 2009, at Houston, Texas.

                                           ______________________________________
                                                      Lee H. Rosenthal
                                                 United States District Judge
